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Information to identify the case:
Debtor 1                 Ryan Joseph Raley                                                      Social Security number or ITIN    xxx−xx−6937

                         First Name   Middle Name   Last Name                                   EIN    _ _−_ _ _ _ _ _ _
Debtor 2                                                                                        Social Security number or ITIN _ _ _ _
(Spouse, if filing)      First Name   Middle Name   Last Name
                                                                                                EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court        District of Colorado
                                                                                                Date case filed for chapter 13 12/31/18
Case number:          18−21148−MER



Official Form 309I
Notice of Chapter 13 Bankruptcy Case                                                                                                                   12/17


For the debtors listed above, a case has been filed under chapter 13 of the Bankruptcy Code. An order for relief has
been entered.
This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.
The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not take action to collect debts
from the debtors, the debtors' property, and certain codebtors. For example, while the stay is in effect, creditors cannot sue, garnish wages, assert a
deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot demand repayment from debtors by mail, phone, or
otherwise. Creditors who violate the stay can be required to pay actual and punitive damages and attorney's fees. Under certain circumstances, the stay
may be limited to 30 days or not exist at all, although debtors can ask the court to extend or impose a stay.
Confirmation of a chapter 13 plan may result in a discharge. Creditors who assert that the debtors are not entitled to a discharge under 11 U.S.C. §
1328(f) must file a motion objecting to discharge in the bankruptcy clerk's office within the deadline specified in this notice. Creditors who want to have
their debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office by the same deadline. (See line 13 below for more
information.)
To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at the address listed below or
through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.
Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.

                                              About Debtor 1:                                               About Debtor 2:
1. Debtor's full name                         Ryan Joseph Raley

2. All other names used in the
   last 8 years
                                              24767 East Wyoming Place
3. Address                                    Aurora, CO 80018
                                              Daniel T. Birney                                              Contact phone 720−262−2711
4. Debtor's  attorney
   Name and address
                                              1777 S. Bellaire St.
                                              Ste. 419
                                                                                                            Email: dan@5280bankruptcy.com

                                              Denver, CO 80222

5. Bankruptcy trustee                         Douglas B. Kiel                                               Contact phone 720−398−4444
     Name and address                         Chapter 13 Trustee                                            Email: ecfmail@denver13.com
                                              4725 S. Monaco St.
                                              Ste. 120
                                              Denver, CO 80237

6. Bankruptcy clerk's office                                                                                Hours open: Monday − Friday 8:00 − 4:30 PM
     Documents in this case may be filed                                                                    Contact phone 720−904−7300
     at this address.                         US Bankruptcy Court
     You may inspect all records filed in     US Custom House
                                                                                                            Date: 1/2/19
     this case at this office or online at    721 19th St.
      www.pacer.gov.                          Denver, CO 80202−2508



                                                                                                                  For more information, see page 2




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Debtor Ryan Joseph Raley                                                                                                        Case number 18−21148−MER

7. Meeting of creditors
     Debtors must attend the meeting to February 12, 2019 at 01:00 PM                                       Location:
     be questioned under oath. In a joint                                                                  Byron G. Rogers Federal Building, 1961 Stout
     case, both spouses must attend.       The meeting may be continued or adjourned to a later            Street, Suite 16−200, Room B, Denver, CO
     Creditors may attend, but are not    date. If so, the date will be on the court docket.               80294
     required to do so.
                                          Under Bankruptcy Rule 4002(b)(1)−(2), an individual
                                          debtor shall bring the following to the meeting of
                                          creditors:

                                            1) picture identification issued by a governmental unit,
                                            or other personal identifying information that
                                            establishes the debtor's identity AND evidence of a
                                            social security number OR a written statement that such
                                            documentation does not exist; and

                                            2) documents or copies of a) debtor's current income
                                            such as the most recent payment advice, pay stub, or
                                            earnings statement; and b) statements for each of the
                                            debtor's depository accounts (bank. credit union and
                                            investment) for the time period that includes the date of
                                            the filing of the petition OR a written statement that
                                            such documentation does not exist; and

                                            3) documentation of monthly expenses claimed if
                                            required under 11 U.S.C. §707(b)(2)(A) or (B).
8.   Deadlines                              Deadline to file a complaint to challenge                     Filing deadline: 4/15/19
     The bankruptcy clerk's office must     dischargeability of certain debts:
     receive these documents and any
     required filing fee by the following
     deadlines.                             You must file:
                                            • a motion if you assert that the debtors are
                                               not entitled to receive a discharge under
                                               U.S.C. § 1328(f) or
                                            • a complaint if you want to have a particular
                                               debt excepted from discharge under
                                               11 U.S.C. § 523(a)(2) or (4).
                                            Deadline for all creditors to file a proof of                 Filing deadline: 3/11/19
                                            claim (except governmental units):
                                            Deadline for governmental units to file a                     Filing deadline: 7/1/19
                                            proof of claim:


                                            Deadlines for filing proof of claim:
                                             A proof of claim is a signed statement describing a creditor's claim. A proof of claim form may be obtained
                                            at www.uscourts.gov or any bankruptcy clerk's office.
                                            If you do not file a proof of claim by the deadline, you might not be paid on your claim. To be paid, you
                                            must file a proof of claim even if your claim is listed in the schedules that the debtor filed.
                                            Secured creditors retain rights in their collateral regardless of whether they file a proof of claim. Filing a
                                            proof of claim submits the creditor to the jurisdiction of the bankruptcy court, with consequences a lawyer
                                            can explain. For example, a secured creditor who files a proof of claim may surrender important
                                            nonmonetary rights, including the right to a jury trial.


                                            Deadline to object to exemptions:                             Filing deadline:      30 days after the
                                            The law permits debtors to keep certain property as                                 conclusion of the
                                            exempt. If you believe that the law does not authorize an                           meeting of creditors
                                            exemption claimed, you may file an objection.


     The case trustee must receive these Deadline to provide documents:                                Filing deadline:        7 days before the
     documents by the following          You shall provide to the case trustee a copy of the federal                           meeting of creditors
     deadlines                           income tax return required under applicable law, or a
                                         transcript of such return, for the most recent tax year
                                         ending immediately before the commencement of the
                                         case and for which a federal income tax return is filed, and
                                         provide the same tax information to creditors that
                                         requested a copy at least fourteen days prior to the
                                         meeting of creditors. See 11 U.S.C. § 521(e)2) and Fed.
                                         R. Bankr. P. 4002(b). You shall also file with the
                                         appropriate tax authorities tax returns that were to
                                         previously submitted and were required to be submitted
                                         under application law. 11 U.S.C. § 1308. The debtor's
                                         failure to comply will result in dismissal of the case unless
                                         the debtor demonstrates that the failure to comply is due
                                         to circumstances beyond the control of the debtor. See
                                         L.B.R. 1017−2.

9. Filing of plan                           The debtor has filed a plan. The plan is enclosed. The hearing on confirmation will be held
                                            on:
                                            3/11/19 at 01:30 PM , Location: U.S. Custom House, 721 19th St., Courtroom C, Denver,
                                            CO 80202
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                               Unless a written objection is filed, the plan may be confirmed as unopposed upon the filing of Verification of
                               Confirmable Plan pursuant to Local Bankruptcy Rule (L.B.R.) 3015−1.

                               The last day to file an objection to the plan is seven days after the date of the first scheduled meeting of
                               creditors, pursuant to Bankruptcy Rule 2002(b) and L.B.R. 3015−1. Objections to the plan must comply with
                               L.B.R. 3015−1 and shall clearly specify the grounds upon which they are based, including the citiation of
                               supporting legal authority, if any. General objections will not be considered by the Court. Objecting parties and
                               the debtor should check the calendar of the Judge assigned to this case on the court's website to ascertain
                               whether the hearing on confirmation will be conducted in person or by telephone and to obtain the necessary
                               instructions for connecting by telephone.

                               Parties objecting to confirmation and the debtor are obligated to meet and confer no later than ten days prior to
                               the hearing on confirmation pursuant to L.B.R. 3015−1. The debtor must timely file a Confirmation Status Report
                               using L.B.F. 3015−1.4.
10. Creditors with a foreign   If you are a creditor receiving a notice mailed to a foreign address, you may file a motion asking the court to
    address                    extend the deadline in this notice. Consult an attorney familiar with United States bankruptcy law if you have
                               any questions about your rights in this case.
11. Filing a chapter 13        Chapter 13 allows an individual with regular income and debts below a specified amount to adjust debts
    bankruptcy case            according to a plan. A plan is not effective unless the court confirms it. You may object to confirmation of the
                               plan and appear at the confirmation hearing. A copy or summary of the plan, if not enclosed, will be sent to you
                               later, and if the confirmation hearing is not indicated on this notice, you will be sent notice of the confirmation
                               hearing. The debtor will remain in possession of the property and may continue to operate the business, if any,
                               unless the court orders otherwise.
12. Exempt property            The law allows debtors to keep certain property as exempt. Fully exempt property will not be sold and
                               distributed to creditors, even if the case is converted to chapter 7. Debtors must file a list of property claimed as
                               exempt. You may inspect that list at the bankruptcy clerk's office or online at www.pacer.gov. If you believe that
                               the law does not authorize an exemption that debtors claimed, you may file an objection by the deadline.
13. Discharge of debts         Confirmation of a chapter 13 plan may result in a discharge of debts, which may include all or part of a debt.
                               However, unless the court orders otherwise, the debts will not be discharged until all payments under the plan
                               are made. A discharge means that creditors may never try to collect the debt from the debtors personally except
                               as provided in the plan. If you want to have a particular debt excepted from discharge under 11 U.S.C. §
                               523(a)(2) or (4), you must file a complaint and pay the filing fee in the bankruptcy clerk's office by the deadline.
                               If you believe that the debtors are not entitled to a discharge of any of their debts under 11 U.S.C. § 1328(f), you
                               must file a motion by the deadline.


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